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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


EDWING D. DANIEL,
WILLIAM COTTRILL,
BROOKE PADGETT,
MICHAEL FANELLA,
JAMES MORGAN,
ELAINE LAREINA,

                       Plaintiffs,                   Case No.: 8:17-cv-02503-SCB-JSS


v.

NAVIENT SOLUTIONS, LLC,

                       Defendant.


             DEFENDANT NAVIENT SOLUTIONS, LLC’S OPPOSITION
              TO PLAINTIFFS’ MOTION TO COMPEL DISCOVERY

I.     Introduction

       In the First Amended Complaint (the “Amended Complaint), plaintiffs Edwing D.

Daniel (“Daniel”), William Cottrill (“Cottrill”), Brooke Padgett (“Padgett”), Michael

Fanella (“Fanella”), and Elaine Lareina (“Lareina”) (collectively, “Plaintiffs”) assert

complex, supposed class-action claims against Navient Solutions, LLC (“NSL”).1 NSL is

a servicer of federally owned or guaranteed student loans. In their Amended Complaint,

Plaintiffs allege that NSL’s agents improperly failed to disclose that Plaintiffs were

eligible for loan forgiveness under the Public Service Loan Forgiveness program

(“PSLF”), which is offered by the United States Department of Education (“ED”). More
1
 On April 30, 2018, plaintiff James Morgan was voluntarily dismissed from the action. (Doc.
43).

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specifically, Plaintiffs allege that NSL’s customer service representatives, during

conversations with Plaintiffs and other borrowers, made various misrepresentations (and

omissions) to them regarding the availability of the PSLF program.                 According to

Plaintiffs, beginning in 2007, “many thousands” of federal student loan borrowers chose

to serve their communities because their loans would eventually be forgiven under the

PSLF program. Based on their allegations, Plaintiffs assert claims against NSL for: (1)

breach of fiduciary duty; (2) negligence; (3) unjust enrichment; and (4) breach of

implied-in-law contract.      In addition, Plaintiffs allege state-specific consumer law

claims.2

         Importantly, Plaintiffs purport to bring these claims for themselves and for a

supposed nationwide class of borrowers, along with state subclasses. According to

Plaintiffs, the nationwide class is composed of “approximately 600,000 members,” and

each state subclass contains “thousands” of persons.             (Amended Complaint, ¶ 25).

Meanwhile, Plaintiffs contend that the class period extends back to “January 1, 2006,

which is the year before the PSLF program was enacted in 2007.” (Motion to Compel

(the “Motion”), p. 5). Thus, in the Motion, Plaintiffs seek to pursue very broad and

burdensome class-wide discovery on numerous issues, and for a time period over 12

years.




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 Daniel, Cottrill and Padgett, on behalf of themselves and others similarly situated, bring a claim
against NSL for violation of the Florida Consumer Collection Practices Act. Fanella, on behalf
of himself and others similarly situated, asserts a violation of the Illinois Consumer Fraud and
Deceptive Trade Practices Act. And Lareina, on behalf of herself and others similarly situated,
asserts a violation of the Colorado Consumer Protection Act.

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       As explained below, in the first instance, this Motion is unnecessary and harassing

because NSL already has placed the propriety of Plaintiffs’ class action discovery before

the Court. On March 8, 2018, NSL filed a Motion to Strike Class Allegations (the

“Motion to Strike”) and to Dismiss (the “Motion to Dismiss”). Very simply, given

Plaintiffs’ class allegations, which turn on thousands of individual conversations between

NSL’s representatives and borrowers, NSL contends that the requirements of Federal

Rule of Civil Procedure 23 cannot be met. Because the Motion to Strike could reduce

this litigation to only Plaintiffs’ individual claims (and the Motion to Dismiss could

entirely dispose of the action), NSL filed a Motion to Stay Discovery on March 22, 2018

(the “Motion to Stay”). (Doc. 32). The Motion to Stay will be fully briefed as of May

14, 2018. Obviously, the Court will determine in ruling on the Motion to Stay whether

the class wide discovery should proceed pending a ruling on the Motion to Strike, and

Plaintiffs have imposed upon NSL the unjustified burden of opposing the Motion.

Moreover, even if the Motion was appropriate, which it is not, Plaintiffs’ discovery

requests are subject to objection for numerous reasons. Accordingly, the Court should

deny the Motion in its entirety, and further should deny Plaintiffs’ request for sanctions.

II.    Background

       A.     Plaintiffs’ Discovery Requests

       On February 7, 2018, Plaintiffs served NSL with discovery related to the alleged

class claims. The Requests for Production are broad and burdensome, seeking, for

example: “[a]ll documents received by [NSL] from or on behalf of [ED] regarding the

Direct Loan program” (Request for Production No. 4); “[a]ll versions of all form

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documents provided to borrowers interested in, applying for, or related to PSLF,

including correspondence, brochures, templates, guidance, forms, etc.” (Request for

Production No. 8); “[a]ll documents related to any litigation made by or on behalf of

borrowers against [NSL] relating to or involving the PSLF program” (Request for

Production No. 17); and “[a]ll documents related to any complaints or grievances made

by or on behalf of borrowers against [NSL] relating to or involving the PSLF program

(Request for Production No. 18). (Motion, Exh. A). Moreover, Plaintiffs’ Interrogatories

seek: (i) identification of “all individuals within [NSL’s] organization (including outside

vendors) responsible for establishing [NSL’s] policies and procedures regarding the

PSLF program” (Interrogatory No. 3); and (ii) identification of “any complaints or

grievances made by or on behalf of student loan borrowers against [NSL], or known by

[NSL], relating to or involving eligibility under the PSLF Program.” (Interrogatory No.

10). (Motion, Exh. B).

       On March 23, 2018, NSL served its objections to Plaintiffs Requests for

Production and Interrogatories. The parties subsequently met and conferred and, as a

good faith compromise, NSL committed to provide Plaintiffs’ loan information, which is

voluminous in itself.

       B.     NSL’s Pending Motion to Strike and Motion to Dismiss

       On March 8, 2018, NSL filed its Motion to Strike and Motion to Dismiss,

asserting that Plaintiffs’ class allegations fail for multiple reasons and, further, that

Plaintiffs have no viable claim for relief under any legal theory. Specifically, as more

fully articulated in NSL’s Motion to Strike, Plaintiffs’ proposed nationwide class and

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state subclasses clearly do not meet the requisite standards under Rule 23 because the

ultimate analysis of liability will require a highly fact-intensive and individualized

analysis of the interactions that NSL had with hundreds of thousands of borrowers. In

addition, and as stated in its Motion to Dismiss, all of Plaintiffs’ claims are preempted by

the HEA; and Plaintiffs also fail to state any claim for a number of other, separate

reasons.

       As a result, on March 22, 2018, NSL filed its Motion to Stay pending the Court’s

ruling on NSL’s Motion to Strike and Motion to Dismiss. Courts frequently grant stays

based on concerns for cost and efficiency when, as here, the Motion to Strike could

reduce this litigation to only Plaintiffs’ individual claims, and the Motion to Dismiss

could entirely dispose of the case. On April 23, 2018, Plaintiffs’ filed their Opposition to

NSL’s Motion to Strike and Motion to Dismiss (Doc. 37) and filed their Opposition to

NSL’s Motion to Stay (Doc. 38). NSL’s Replies are due on May 14, 2018. Plaintiffs

filed the instant Motion on April 26, 2018.        Through their Motion, Plaintiffs seek

discovery related only to the purported class claims.

III.   Argument

       A.     The Court Should Deny Plaintiffs’ Motion as Improper and Intended
              to Harass

       Federal Rule of Civil Procedure 26 defines the scope of discovery as follows:

              Parties may obtain discovery regarding any nonprivileged
              matter that is relevant to any party's claim or defense and
              proportional to the needs of the case, considering the
              importance of the issues at stake in the action, the amount in
              controversy, the parties’ relative access to relevant
              information, the parties’ resources, the importance of the

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              discovery in resolving the issues, and whether the burden or
              expense of the proposed discovery outweighs its likely
              benefit.

Fed. R. Civ. P. 26(b)(1) (emphasis added). Further, a litigant is not entitled to conduct

discovery that is intended to harass, annoy, embarrass, or oppress the opposing party.

See Fed. R. Civ. P. 26(c); Crawford-El v. Britton, 523 U.S. 574, 598 (1988); Robinson v.

Section 23 Prop. Owner’s Ass’n, Inc., 2014 WL 2215757, at *6 (M.D. Fla. May 28,

2014). For instance, the existence of grounds for dismissal justifies precluding a plaintiff

from pursuing discovery that is unnecessary, thus avoiding the effort and expense

associated with discovery altogether. See Chudasama v. Mazda Motor Corp., 123 F.3d

1353, 1367 (11th Cir. 1997) (“Facial challenges to the legal sufficiency of a claim or

defense, such as a motion to dismiss based on failure to state a claim for relief should,

however, be resolved before discovery begins.”); Roman v. Tyco Simplex Grinnell, No.

17-13895, 2018 WL 2024663, at *2 (11th Cir. May 1, 2018) (“In civil actions, a

plaintiff’s right to perform discovery and present his claims to a jury are not absolute. In

particular, a motion to dismiss for failure to state a claim must be resolved before

discovery begins.”); Mid-Continent Cas. Co. v. G.R. Constr. Mgmt., Inc., No. 2:17-CV-

55-FTM-38CM, 2017 WL 3394231, at *2 (M.D. Fla. Aug. 8, 2017) (holding a stay of

discovery appropriate because the pending motion to dismiss was case dispositive).

       Precisely these circumstances exist here.      In the Motion to Strike, NSL has

challenged the viability of all of the supposed class claims on numerous, well-supported

grounds. If the Court grants the Motion to Strike, the scope of this action will be

substantially diminished (and, of course, if the Court also grants the Motion to Dismiss,

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the case will be over). On this basis alone, the Motion was unnecessary; all parties would

benefit from the Court’s ruling on the Motion to Strike. In addition, though, Plaintiffs

filed the Motion seeking to compel on class-wide discovery, even though NSL’s Motion

to Stay, on the same discovery, was already pending. This cannot be construed as

anything other than an attempt to burden and harass NSL by requiring it to oppose the

Motion. Accordingly, the Court should deny the Motion as improper.

      B.     Further, Even if the Motion was Proper, Plaintiffs’ Discovery Requests
             are Subject to Objection, which NSL Has Not Waived

      For purposes of the disputed class-wide discovery, Plaintiffs state that “[b]oth the

[Requests for Production] and the Interrogatories are limited to the time period beginning

January 1, 2006, which is the year before the PSLF program was enacted in 2007.”

(Motion, p. 5). Notwithstanding the reference to a supposed “limit,” this time period

covers more than 12 years, and oddly includes a full year in which the PSLF program

was not even in place. When viewed in the context of Plaintiffs’ very broad discovery

requests, this time period plainly is overreaching and production would impose a

substantial burden on NSL. For instance, almost every Request for Production seeks “all

documents” related to the particular subject matters, which is overbroad and burdensome,

as a matter of law. See Kearney Partners Fund, LLC by & through Lincoln Partners

Fund, LLC v. United States by & through Internal Revenue Serv., No.

210CV153FTM36SPC, 2011 WL 13137948, at *3 (M.D. Fla. Dec. 19, 2011) (“Requests

for production that request any and all communications are generally considered

overbroad and unduly burdensome.”) (citing Goodbys Creek, LLC v. Arch Insurance Co.,


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2008, WL 4279693 * 2 (M.D. Fla. September 15, 2008)); Maldonado v. Cooperativa De

Seguros Multiples De Puerto Rico, Inc., No. 8:13-CV-2361-T-35TBM, 2015 WL

12838184, at *2 (M.D. Fla. May 18, 2015) (holding that requests for “all documents”

were “overly broad and impose an undue burden.”); Stern v. O'Quinn, 253 F.R.D. 663,

693 (S.D. Fla. 2008) (finding request for “all” documents to be “overly broad in scope

since it is not limited to issues presented in this case”); Rice v. Reliastar Life Insurance

Co., No. 11–CV–44 (BAJ)(CN), 2011 WL 5513181, at *2 (M.D. La. Nov. 10, 2011)

(finding that “a request for ‘any and all documents’ relating to a particular subject is

overbroad and amounts to little more than a fishing expedition”); Henry v. Morgan’s

Hotel Grp., Inc., No. 15-CV-1789 (ER)(JLC), 2016 WL 303114, at *2 (S.D.N.Y. Jan. 25,

2016) (It is well established that “[b]lanket requests of this kind are plainly overbroad and

impermissible.”) (citing Gropper v. David Ellis Real Estate, L.P., No. 13–CV–2068

(ALC)(JCF), 2014 WL 518234, at *4 (S.D.N.Y. Feb. 10, 2014) (finding that a “request

for ‘any and all’ documents . . . is inherently overbroad”).

       Further, the Court should reject Plaintiffs’ contention that, because NSL “makes

objections but then answers ‘subject to’ those objections,” NSL’s overall objections are

deemed waived. (Motion, p. 3). Indeed, courts consider waiving objections only when a

party substantively answers an interrogatory despite the stated objections. See Creative

Touch Interiors, Inc. v. Nicholson, No. 614CV2043ORL40TBS, 2015 WL 5952986, at

*2 (M.D. Fla. Oct. 13, 2015) (waiving objections when plaintiff answered each

interrogatory, beginning with the words: “Subject to and without waiving the foregoing

objections.”); Pepperwood of Naples Condo. Ass'n, Inc. v. Nationwide Mut. Fire Ins. Co.,

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No. 2:10-CV-753-FTM-36, 2011 WL 4382104, at *4 (M.D. Fla. Sept. 20, 2011) (“If an

objection to a discovery request is raised, and then the question is answered ‘subject to’

or ‘without waiving’ the objection, this court is reluctant to sustain the objection.”)

(emphasis added) (citing Mann v. Island Resorts Dev., Inc., 2009 WL 6409113 at *2–3

(N.D. Fla. Feb. 21, 2009).     But, here, NSL did not provide substantive responses.

Instead, NSL stated that it would proceed with discovery if the Court denies the Motion

to Stay. For instance, in response to Plaintiffs’ Requests for Production, NSL repeatedly

states that: “In the event discovery is not stayed, NSL will complete production of

responsive documents, subject to the foregoing objections, within a reasonable time

period mutually agreeable to the parties.” (Responses to Request for Production Nos. 1-

18, attached to Motion as Exhibit B). Meanwhile, the same is true for NSL’s Responses

to Plaintiffs’ Interrogatories. NSL does not even use the words “subject to” in its

objections to Plaintiffs’ Interrogatories. (Responses to Request for Interrogatories Nos.

1-10, attached to Motion as Exhibit D). As such, Plaintiffs’ argument for a broad waiver

is meritless.

       Moreover, the Court should not find that NSL has waived its attorney-client

privilege objections. In the Motion, Plaintiffs seek to compel production of a privilege

log and argue that, by not producing a log with its objections, NSL waived its privilege

objections. (Motion, p. 7). However, Plaintiffs are wrong on these points. Where overly

broad discovery requests include within their scope potentially privileged documents, and

the party from whom the discovery is sought has objected on that basis, a privilege log

need not be produced until the objections are resolved. See Pensacola Firefighters' Relief

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 & Pension Fund Bd. of Directors v. Merrill Lynch, Pierce, Fenner & Smith, Inc., No.

 3:09CV53/MCR/MD, 2010 WL 11519376, at *5 (N.D. Fla. June 28, 2010) (explaining

 that the responding party “should provide documents and a privilege log for withheld

 documents within the period it alleges as the proper scope” and if the court overrules the

 overbreadth objection, “the responding party should be given an opportunity to produce

 the documents (if not privileged) or provide a privilege log”); United States v. Philip

 Morris Inc., 347 F.3d 951, 954 (D.C. Cir. 2003) (“In short, if a party’s pending objections

 apply to allegedly privileged documents, the party need not log the document until the

 court rules on its objections.”) (quotation marks and citation omitted)); Grand River

 Enterprises Six Nations, Ltd. v. King, No. 02 CIV.5068(JFK), 2009 WL 63461, at *3

 (S.D.N.Y. Jan. 12, 2009) (“Defendants did not have to complete their privilege logs while

 [their overbreadth] objection was pending.”).

       C.     No Sanctions Should Be Awarded

       Even if a motion to compel is granted, sanctions are not always warranted. In fact,

 the “court must not order payment if “(i) the movant filed the motion before attempting in

 good faith to obtain the disclosure or discovery without court action; (ii) the opposing

 party's nondisclosure, response, or objection was substantially justified; or (iii) other

 circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(a)(5)(A).

       Here, no award of sanctions is warranted. As explained above, this Motion is

 unnecessary and harassing because NSL already has placed the propriety of Plaintiffs’

 class action discovery before the Court. Plaintiffs simply had to await the Court’s

 decisions on NSL’s pending Motion to Strike, Motion to Dismiss, and Motion to Stay.

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 Under these circumstances, and particularly where the disputed discovery requests

 themselves are objectionable, NSL acted appropriately in exercising its rights.

 Accordingly, the Court should deny Plaintiffs’ request for sanctions.

 IV.   Conclusion

       For the foregoing reasons, Plaintiffs’ Motion should be denied in its entirety.



 Dated: May 14, 2018                      Respectfully submitted,

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                             CERTIFICATE OF SERVICE

        I certify that on May 14, 2018, a copy of the foregoing was filed electronically in

 the ECF system. Notice of this filing will be sent to the parties of record by operation of

 the Court’s electronic filing system, including Plaintiff’s counsel as described below.

 Parties may access this filing through the Court’s system.



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